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                  EXHIBIT 19
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Bromberg, Katherine

From:                          andrea@scottsdalecapital.com
Sent:                          Monday, November 09, 2009 10:47 AM
To:                            benkirk@telus.net; amanda@skymarkresearch.com
Subject:                       docs required
Attachments:                   DSR Penson.pdf; Stock power.pdf



Need original signed by the pres

Thanks
Andrea Ritchie
Broker
Office: 760-448-1800 Ext 207
Cell: 619-843-2434
Fax: 760-448-1801




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                                        PENSON FINANCIAL SERVICES, INC
                                           AND/OR BROKER DEALERS
                                             FOR WHICH IT CLEARS


                           DEPOSITED SECURITIES REQUEST QUESTIONNAIRE
                  FOR BULLETIN BOARD, PINK SHEET AND UNREGISTERED SECURITIES

Indicate Type:    Physical Certificate Deposit    DWAC/DRS Transfer from Issuer   Other Transfer ______________________

Security Owner Name:                                                        Account #:
Security Description:
Issuer/Company Name:
Certificate No.:                         Ticker Symbol:                             No. of Shares:
CUSIP:                                   Shares Outstanding:                        Approx Value: $
Security Owner Questionnaire:
1    Security Deposit Reason (e.g. safekeeping; resale):
2    Date Security was Acquired:
3    Amount/Manner of Payment:
4    Security Acquired From (the “Prior Owner”):
5    Were shares received as compensation? If so, for what?
6    How many shares of the Issuer are owned or controlled,
     directly or indirectly, by you?
7    How many shares, if any, have been sold by you?
8    Do you intend to sell additional shares through other
     means, including broker/dealers? If so, when?
9    Is the Security restricted from resale for any reason? If so,
     what is the basis for the restriction? When does the
     restriction end?
10 If restricted, may the shares be sold with prospectus before
     the end of the restrictive period? If so, how soon?
11 Was the Security covered by a current registration
     statement when acquired? (if yes, explain, including type
     of registration e.g. S-1, Form 20, etc.)
12 Was the Security exempt from SEC registration when you
     acquired it? (if yes, describe exemption relied upon)
13 Are the Issuer’s SEC filings current?
14 Has the Issuer been through a recent name change? If so,
     what was (or were) previous name(s)?
15 Was Issuer a shell company when shares issued? If so, are
     the corporate headquarters located in the same state that
     the shares were issued? In which state were shares issued?
16 Are you, or have you been, an officer, director, affiliate,
     control person or 5% owner of the Issuer? (If yes, provide
     position and dates of duties held)



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17     What relationship, if any, do you have with the Issuer or
       its control persons?
18     If Prior Owner and Issuer are not the same, indicate Prior
       Owner’s purchase date, seller’s name, and amount/manner
       of payment:
19     Have you made any payment to any other person in
       connection with the sale of the security? (e.g. commission)
20     Have you made any arrangements for buy orders in
       connection with the sale of the security?
21     Other information regarding security deposit that you
       would like to provide:




The undersigned hereby represents that the information provided above is true and correct. The undersigned understands
that Penson Financial Services, Inc. will be relying on such information in determining whether to accept orders for the sale of
the undersigned’s securities. As condition to Penson Financial Services, Inc.’s acceptance of any sale, the undersigned hereby
agrees to the Terms and Conditions attached hereto:

________________________________                       __________________________________                ________________
(Name/Title of Entity)                                 (Security Owner Signature)                        (Date)

Transfer Agent Verification: (For Broker Use Only)
Transfer Agent:                                                          Address:
Contact Person:                                                          Telephone:
Date Verified:                                                           By:
Is this Issue DTC eligible? If not, are you submitting a request to
make eligible?

Notes: ____________________________________________________________________________________
__________________________________________________________________________________________

Broker Approval:
The undersigned Registered Representative, Register Principal, and CCO have carefully reviewed this Deposited Securities Request
and the appropriate supporting documents. Each represents to Penson Financial Services, Inc. that to his/her best knowledge the
information is true and correct and is made in compliance with all applicable federal and state securities laws and regulations.


______________________________________                 ______________________________________
Name of Introducing Broker                             Contact Phone #

______________________________________                 ______________________________________            __________________
(Representative Name)                                  (Representative Signature)                        (Date)

_______________________________________________        _______________________________________________   _______________________
(Principal Name, other than CCO)                       (Principal Signature)                             (Date)

_______________________________________________        _______________________________________________   _______________________
(CCO Name)                                             (CCO Signature)                                   (Date)




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                                                     TERMS AND CONDITIONS

In consideration of Penson Financial Services, Inc. (PFSI) accepting this Deposited Securities Checklist, the Security Owner
understands and agrees to each of the following:

1.   The Security Owner agrees to keep the foregoing Questionnaire information up to date and current with PFSI as long as the
     Security shares are being sold.

2.   The Security Owner agrees to indemnify and hold PFSI harmless from and against any and all claims, damages, liabilities and
     expenses which PFSI incurs as a result of or in connection with any inaccuracy or omission in the Security Owner’s responses to
     the Questionnaire.

3.    To cooperate with any internal or external audit or regulatory inquiry relating to this Deposited Securities Checklist by providing
     any information or documentation reasonably requested by PFSI to support the information provided in the Questionnaire and any
     Security sale executed in accordance with the Securities Laws (as defined below). This obligation to cooperate will remain in
     effect before and after the completion of the transfer of the assets.

4.   The acceptance of any sale of the related securities are expressly subject to the Security Owner’s strict adherence to all applicable
     federal securities laws, including, without limitation, those described below (the “Securities Laws”):

     Selling Unregistered Securities: Federal securities law make it unlawful for a person to make use of any means or instrument of
     interstate commerce or of the mails to sell a security which has not been registered, or to deliver through the mail a security which
     has not been registered. Accordingly, unless a person can apply an exemption to its sales of securities, all securities sold are
     required to be registered pursuant to Section 5 of the Securities Act of 1933 (the “1933 Act”).

     Securities Fraud: Federal securities law make it unlawful for any person to offer or sell securities by the use of any means of
     interstate communication or transportation, including the mails, in order to employ a scheme to defraud, to obtain money by
     omitting material information, or to engage in a course of business that would operate as a fraud on the purchaser.

     Insider Trading: Federal securities law prohibits insider trading, which generally refers to buying or selling a security, in breach
     of a fiduciary duty or other relationship of trust and confidence, while in possession of material, nonpublic information about the
     security. Insider trading violations may also include “tipping” such information, securities trading by the person “tipped”, and
     securities trading by those who misappropriate such information.

     Market Manipulation: Market manipulation describes a deliberate attempt to interfere with the free and fair operation of the
     market and create artificial, false or misleading appearances with respect to the price of, or market for, a security, commodity or
     currency. Market manipulation is prohibited under federal securities law. Market manipulation can occur in multiple ways,
     including:
      Pools – Agreements, often written, among a group of traders to delegate authority to a single manager to trade in a specific
          stock for a specific period of time and then to share in the resulting profits or losses.
      Churning – Placing both buy and sell orders at about the same price. The increase in activity is intended to attract additional
          investors, and increase the price.
      Runs – Creating activity or rumors in order to drive the price of a security up. This activity is usually referred to as “Painting
          the Tape.”
      Ramping (the market) – Actions designed to artificially raise the market price of listed securities and to give the impression
          of voluminous trading, in order to make a quick profit.
      Wash sale – Selling and repurchasing the same or substantially the same security for the purpose of generating activity and
          increasing the price.
      Bear raid – Attempting to push the price of a stock down by heavy selling or short selling.

     Anti-Money Laundering: The Bank Secrecy Act (BSA), and its implementing regulations, is a tool the U.S. government uses
     to fight drug trafficking, money laundering, and other crimes. Congress enacted the BSA to prevent banks and other financial
     service providers from being used as intermediaries for, or to hide the transfer or deposit of money derived from, criminal
     activity. Federal law makes money laundering a criminal act. Money laundering is the criminal practice of filtering ill-gotten
     gains or “dirty” money through a maze or series of transactions, so the funds are “cleaned” to look like proceeds from legal
     activities.


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                       Irrevocable Stock Power Form


For   Value    Received,   the   undersigned    do   hereby   sell,   assign    and      transfer     unto

__________________________________________, ____________ shares of the Capital Stock of

_______________________________________________ standing in the name of the undersigned

on the books of said Company, represented by Certificates No. ____________________ herewith,

and           hereby       irrevocably         constitute       and            appoint              Penson

Financial Services, Inc. attorney to transfer the said stock on the books of the within named

Company with full power of substitution in the premises.




____________________________________
Account Number

____________________________________
Process ID Number (Broker use only)




____________________________________________                  __________________________
Account Holder’s Signature                                    Date

____________________________________________
Account Holder’s Name Printed




____________________________________________                  __________________________
Joint Account Holder’s Signature                              Date

____________________________________________
Joint Account Holder’s Name Printed
